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                         ESPAÑOL (/SANTA-BARBARA-VENTURA-ES)


                                                                             EXHIBIT
Coalition sues Exxon for Plastic                                                  7
pollution
October 11, 2024



Coalition sues Exxon for Plastic pollution

  A coalition of non-profit environmental organizations filed a lawsuit on Sept. 23
against ExxonMobil, the world’s largest producer of single-use plastic polymers.
  The coalition includes the Sierra Club, Surfrider Foundation, Heal the Bay, and San
Francisco Baykeeper.
  The complaint, filed in San Francisco County Superior Court, alleges violations of
California nuisance law and California unfair competition law and alleges Exxon
concealed the harms caused by plastics. The California Attorney General’s Office filed a
separate action addressing the same crises.
  “As alleged in our complaint, Exxon profited by claiming plastics are safe and
recyclable. But we know better now—our environment and health were being sacrificed
just to protect Exxon's bottom line,” said Allison Chin, President of the Sierra Club’s
Board of Directors. “Plastic Pollution has risen to be one of the defining environmental
issues of our time. If we're going to clean up the mountains of plastic waste, Exxon
needs to clean up its act.”
  The suit further alleges that Exxon systematically led the public to believe that plastic
waste is easily and safely disposable via recycling, incineration or landfills, when in
reality, plastic persists in the environment for thousands of years, leaking toxic
chemicals that are known to harm human health and the environment. Exxon’s conduct
has exacerbated the environmental crises of plastic pollution and harmed California’s
coasts and waterways.
  Even with recycling programs in place, in the U.S. less than 5% of our plastic is
recycled into another plastic product, despite being labeled as “recyclable.” Exxon-
produced polymer resins are directly responsible for over 6 million metric tons of
plastic waste annually — equivalent to the weight of 300,000 garbage trucks — which
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end up contaminating our environment and our bodies, at every stage of its product
lifecycle.
 “For 40 years, the Surfrider Foundation has been fighting to protect our ocean,
waves, and beaches. We've battled plastic pollution through beach cleanups, public
education, and commonsense policy initiatives at the local, state, and federal levels.
Despite these tireless efforts, 85% of items collected in our California beach cleanups
in 2023 were still single-use plastics,” said Jennifer Savage of the Surfrider
Foundation. “Now, for the health of our ocean and the people who depend on it, we’re
taking this fight to court.”
  NPR reported in 2020 that fossil fuel giants knew for decades that recycling wouldn’t
solve the plastic waste environmental crisis or keep plastic out of landfills, according to
internal industry documents. The Center for Climate Integrity also reported that Exxon
spent millions of dollars on efforts to manipulate consumers’ perceptions of plastics
recycling.
  “California taxpayers shell out an estimated $420 million each year to clean up and
prevent plastic pollution from fouling our public places. Public money should be used
for public good – not subsidizing big profits for Big Plastic,” said Tracy Quinn, president
of Los Angeles-based nonprofit Heal the Bay.
  Over 90% of U.S. consumers consider the amount of plastic in a product before
deciding on a purchase. Exxon knew this fact — and exploited it.
  “The complaint alleges that Exxon has brainwashed everyone into thinking that
plastic recycling works and that it’s good for the planet. But when we pulled back the
curtain, we found that Exxon’s plastic polymers are poisoning waterways, wildlife, and
people," said Sejal Choksi-Chugh of San Francisco Baykeeper. "San Francisco Bay has
some of the highest levels of microplastics in the world,” he added.
  Plastic pollution never biodegrades. Instead, it breaks down into smaller and smaller
pieces — sometimes referred to as microplastics. Avoiding microplastics in our daily
lives is virtually impossible. It is in our drinking water, the food we eat, and even in the
air we breathe.
   The average American inhales and ingests the equivalent of a credit card's worth of
microplastics each week, and microplastics have been found in human blood, heart and
brain tissue, placentas, and even breast milk. This is well beyond consumer choice or
individual responsibility — and there must be corporate accountability for a decades-
long campaign to bury the truth about the known human health impacts caused by
plastics.
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